  Case: 1:20-cv-04806 Document #: 628 Filed: 12/23/22 Page 1 of 3 PageID #:15786




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ABC Corporation I et al,

                      Plaintiff,                CASE NO. 1:20-cv-04806

        v.                                      Judge: Honorable Thomas M. Durkin

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                      Defendants.


              DEFENDANT AND THIRD-PARTY RESPONDENTS’ MOTION
               FOR SUMMARY JUDGEMENT OF NON-INFRINGEMENT


       Comes Now, Defendant Gyroor-US (“Defendant” or “Gyroor-US”) and Third-Party

Respondents Gyroor, Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM (collectively,

“Third-Party Respondents”) respectfully move the Court to grant summary judgment of non-

infringement of Defendant and Third-Party Respondents’ Accused Product A, Accused Product B,

Accused Product C, Accused Product D, and Accused Product E.

       In support of this Motion, Defendant and Third-Party Respondents herewith submit a

Memorandum of Law.




 Date: 12/23/2022                             /s/ Na Zhang
                                              Na Zhang, Esq
                                              Glacier Law LLP
                                              506 Second Ave., Ste 1516
                                              Seattle, WA 98104
                                              Na Zhang, Esq.
                                              queena.zhang@glacier.law
                                              206-397-8633
Case: 1:20-cv-04806 Document #: 628 Filed: 12/23/22 Page 2 of 3 PageID #:15787




                                       GLACIER LAW LLP
                                       41 Madison Avenue, Ste 2529
                                       New York, NY 10010
                                       Wei Wang, Esq.
                                       wei.wang@glacier.law
                                       332-777-7315

                                       GLACIER LAW LLP
                                       9660 Flair Dr., Ste 328
                                       El Monte, CA 91731
                                       Yu-Hao Yao, Esq.
                                       mickey.yao@glacier.law
                                       312-448-7772

                                       GLACIER LAW LLP
                                       200 E. Randolph Dr., Ste. 5100
                                       Chicago, IL 60601
                                       Ruoting Men, Esq.
                                       ruoting.men@glacier.law
                                       Tianyu Ju, Esq.
                                       Iris.ju@glacier.law
                                       312-270-0413


                                       Attorneys for Defendant and Third-Party
                                       Respondents
  Case: 1:20-cv-04806 Document #: 628 Filed: 12/23/22 Page 3 of 3 PageID #:15788




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this December 23, 2022, I electronically filed the foregoing

file with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel

of record and interested parties through this system, which will deliver a true and correct copy of

the foregoing documents via CM/ECF.




 Date: 12/23/2022                                /s/ Na Zhang
